     Case 1:21-cv-00217-HSO-BWR   Document 237-5   Filed 02/28/25   Page 1 of 3
                                                        Jason Cuevas 06/14/2023


·1· · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
·2· · · · · · · · · ·SOUTHERN DIVISION

·3

·4· ·CATINA PARKER, as Personal
· · ·Representative of the Estate
·5· ·of Leonard Parker, Jr.,
· · ·Deceased,
·6· · · · Plaintiff,

·7
· · ·VERSUS· · · ·CIVIL ACTION NO: 1:21-cv-00217-HSO-BWR
·8

·9· ·THE CITY OF GULFPORT, a
· · ·municipal corporation; JASON
10· ·CUEVAS in his individual and
· · ·official capacity; and JOHN
11· ·DOE OFFICERS #1 - 5 in their
· · ·official and individual
12· ·capacities,
· · · · · Defendants.
13

14

15

16· · · · ·VIDEOTAPED DEPOSITION OF JASON CUEVAS

17

18· · · · Taken at the offices of Copeland, Cook,
· · · · · Taylor & Bush, P.A., 200 East Beach
19· · · · Boulevard, Building 5, Gulfport,
· · · · · Mississippi, on Wednesday, June 14,
20· · · · 2023, beginning at 9:16 a.m.

21

22

23

24
· · ·REPORTED BY:· F. DUSTY BURDINE, CSR #1171
25· ·McCORKLE LITIGATION SERVICES, INC.


                      McCorkle Litigation Services, Inc.                          1
                       Chicago, Illinois· (312) 263-0052
                                  Exhibit "E"
     Case 1:21-cv-00217-HSO-BWR   Document 237-5   Filed 02/28/25   Page 2 of 3
                                                        Jason Cuevas 06/14/2023


·1· ·or once I was already parked.
·2· · · · Q.· ·Before you turned off your headlights,
·3· ·did they illuminate any people right in front of
·4· ·you?· Did you observe anyone in the headlights?
·5· · · · A.· ·No, ma'am.
·6· · · · Q.· ·And then as you parked, were you able to
·7· ·observe where the voices were coming from?
·8· · · · A.· ·Once I was out of the vehicle, I was
·9· ·able to.
10· · · · Q.· ·Okay.· So before you got out, you
11· ·couldn't tell where the voices were?
12· · · · A.· ·No, ma'am.
13· · · · Q.· ·Do you remember why you parked where you
14· ·chose to park?
15· · · · A.· ·Yes, ma'am.
16· · · · Q.· ·And why was that?
17· · · · A.· ·It was a more tactical approach to where
18· ·I was parked.· I wasn't illuminated by a street
19· ·light.· It gave me a better vantage point to
20· ·approach the call from to gain more information
21· ·about the situation that was going on at the
22· ·residence.· And also -- so that way, since I
23· ·wasn't familiar with that exact street, it would
24· ·give me a little more distance and time to verify
25· ·which residence I needed to be responding to.


                      McCorkle Litigation Services, Inc.                          42
                       Chicago, Illinois· (312) 263-0052
                                  Exhibit "E"
                                                                                       YVer1f
Case 1:21-cv-00217-HSO-BWR                                Document 237-5   Filed 02/28/25   Page 3 of 3   ºººº

    
                                                                    
    L
                             L L L  L 5A:@L $85:@$:L !L 5@;GL
    
         .+ L +4L 4!L '5:L @*$L 5C@GL 5'L ::+?54L @@$L 5'L
    
              +??+??+88+L *$:$GL $:@+'GL @*@L @*$L '5:$(5+4(L
    
         8($?L 4!L +4 .A!+4(L @*+?L 8($L 54@+4L L @:A%L !L
     
              5::$ @L @:? :+8@L 5'L @*$L @$?@+/54GL 5'L @*$L F+@4$??L
     
         ?L @-$4L GL /$L @L @*$L @+/$L !L 8. $L *$:$@5'5:$L
     
         ?@@$!L !L .@$:L :$!A $!L @5L @J8$F:+@@$4L '5<L GL
     
              51A@$:+!$!L @:4? :+8@+54L B4"%:L 3L ?A8$=+?+54L

         @5L @*$L $?@L 5'L 3L ?-+..L 4#L +.+@GL

                           'A:@*$:L $:@+'GL @*@L  8. $!L @*$L F+@4$??KL

         C!$:L 5@*L @5L @:A@*'A..GL 4?F$:L ..L 9$?@+54?L +4L

         @*+?L 0@@$:L C!$:L @*$L A@*5:+@GL D$?@$!L +4L /$L GL @*$L

         @@$L 5'L +??+??+88+L
 
                           'A:@*$:L $:@+'GL @*@L  /L 45@L +4L @*$L $2.5GL
 
         5'L 5:L :$.@$!L @5L HL 5C?$.L 5:L 8:@GL +4L @*+?L
 
         /@@$:L !L *E$L 45L +4@$:$?@L /64$@:GL 5:L
 
         5@*&>+?$L +4L @*$L '+4.L 5A@ 5/$L 5'L @*$L 8:5 $$!+4(?L
 
         +@4$??L 3L ?+)@A:$L !L ?$.L @*+?L @*$L ?@L!GL5'LL
L
         *UNELL
           
                     
                 

          
                          


         
         

          
               
                         
                                     
         *   * ** * 
                                                             
                                       7??,54L 
                                                                        ,:$?L
           ##*                                      
                                             *  $*
                 *"*  *
             ###*!%'
                                         ()*!&*
                   
                        
                             




                                                          Exhibit "E"
